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 6                          UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE

 9
    UNITED STATES OF AMERICA, )
10                               )
                    Plaintiff,   )                CASE NO.      CR06-198 RSL
11                               )
             v.                  )
12                               )
                                 )                DETENTION ORDER
13 MAURICIO ROSALES-GONZALEZ,)
    a.k.a. Chaparro,             )
14 a.k.a. Edmundo Ramos-Ruiz,    )
                                 )
15                               )
                    Defendant.   )
16 ______________________________)
17 Offense charged:
18            Count I:      Conspiracy to Distribute Cocaine, Heroin, and Methamphetamine,
19                          in violation of Title 21, United States Code, Sections 841(a)(1),
20                          841(b)(1)(A) and 846.
21   Date of Detention Hearing: June 29, 2006.
22            The Court, having conducted an uncontested detention hearing pursuant to Title
23   18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
24   detention hereafter set forth, finds that no condition or combination of conditions which the
25   defendant can meet will reasonably assure the appearance of the defendant as required and
26   the safety of any other person and the community. The Government was represented by

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 1 Todd Greenberg. The defendant was represented by Mark Larranaga.
 2          The Government filed a Motion for Detention, to which the defendant stipulates.
 3      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 4          (1)   There is probable cause to believe the defendant committed the
 5                conspiracy drug offense. The maximum penalty is in excess of ten years.
 6                There is therefore a rebuttable presumption against the defendant’s
 7                release based upon both dangerousness and flight risk, under Title 18
 8                U.S.C. § 3142(e).
 9          (2)   Nothing in this record satisfactorily rebuts the presumption against
10                release for several reasons:
11                (a)    The defendant presents a risk of nonappearance due to the
12                       following: He is a citizen and national of Mexico; his background
13                       and ties to the Western District of Washington are
14                       unknown/unverified; he is associated with two alias names and
15                       two dates of birth; and the Bureau of Immigration and Customs
16                       Enforcement has filed a detainer;
17                (b)    The defendant presents a risk of danger due to his criminal history
18                       and the nature of the instant offense; and
19                (c)    The defendant stipulates to detention.
20          (3)   Based upon the foregoing information which is consistent with the
21                recommendation of U.S. Pre-trial Services, it appears that there is no
22                condition or combination of conditions that would reasonably assure
23                future Court appearances and/or the safety of other persons or the
24                community.
25          It is therefore ORDERED:
26          (l)   The defendant shall be detained pending trial and committed to the

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 1               custody of the Attorney General for confinement in a correction facility
 2               separate, to the extent practicable, from persons awaiting or serving
 3               sentences or being held in custody pending appeal;
 4         (2)   The defendant shall be afforded reasonable opportunity for private
 5               consultation with counsel;
 6         (3)   On order of a court of the United States or on request of an attorney for
 7               the Government, the person in charge of the corrections facility in which
 8               the defendant is confined shall deliver the defendant to a United States
 9               Marshal for the purpose of an appearance in connection with a court
10               proceeding; and
11         (4)   The clerk shall direct copies of this order to counsel for the United
12               States, to counsel for the defendant, to the United States Marshal, and to
13               the United States Pretrial Services Officer.
14         DATED this 29th day of June, 2006.



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17                                            Monica J. Benton
                                              U.S. Magistrate Judge
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